 

Case 3:14{0\}-00118-DHB-BKE Document 53-1| Filed 04/04/17 Page 1 of 2
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JOnesboro, GA 30236
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Jonesboro, GA 30236 Ciient Phone: 404-994-6218

 

in RE: Wiiiie |\/iack Henry, et a|. vs. Community of Hope Center, inc., et ai.
Wiiiie Mack Henry, Brian Poweii, SHaun Powe||, i\/ieivin Thomas, Edd O`Neai, Jr., Anthony Lee Havard,
Charline Wright and Caroiyn Horne
Attendance Date: 08/21/2015, QZOOam
Reporter: ST
Location: Office of Obiorah Fieids, LLC - 124 North iVchonough Street ~ Jonesboro, GA 30236

 

 

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